Case:18-05210-ESL13 Doc#:35 Filed:10/08/18 Entered:10/08/18 15:09:11   Desc: Main
                           Document Page 1 of 6
Case:18-05210-ESL13 Doc#:35 Filed:10/08/18 Entered:10/08/18 15:09:11   Desc: Main
                           Document Page 2 of 6
Case:18-05210-ESL13 Doc#:35 Filed:10/08/18 Entered:10/08/18 15:09:11   Desc: Main
                           Document Page 3 of 6
Case:18-05210-ESL13 Doc#:35 Filed:10/08/18 Entered:10/08/18 15:09:11   Desc: Main
                           Document Page 4 of 6
Case:18-05210-ESL13 Doc#:35 Filed:10/08/18 Entered:10/08/18 15:09:11   Desc: Main
                           Document Page 5 of 6
Case:18-05210-ESL13 Doc#:35 Filed:10/08/18 Entered:10/08/18 15:09:11   Desc: Main
                           Document Page 6 of 6
